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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and DOMINION                 )
 VOTING SYSTEMS CORPORATION,                        )   Civil Action No. 1:21-cv-02131 (CJN)
                                                    )
         Plaintiffs,                                )
                                                    )   Judge Carl J. Nichols
             v.                                     )
                                                    )
 PATRICK BYRNE,                                     )   JURY TRIAL DEMANDED
                                                    )
        Defendant.                                  )
                                                    )

   DECLARATION OF DAVIDA BROOK IN SUPPORT OF MOTION DOMINION’S
    EMERGENCY MOTION FOR PROTECTIVE RELIEF AND TO DISQUALIFY
                            COUNSEL

I, Davida Brook, hereby declare and state as follows:

        1.        I am an attorney at Susman Godfrey L.L.P., and counsel for plaintiffs, Dominion,

in the above-captioned action. I am a member in good standing with the bar of the State of

California and am admitted to practice in this Court. I am over the age of eighteen, attest to the

following matters from personal knowledge, and if called as a witness, could competently testify

to the matters set forth herein.

        2.        Attached hereto as Exhibit 1 is a true and correct copy of a post from the social

media website “X” dated March 9, 2024, accessed and saved on March 15, 2024, with the posters’

names redacted. The copy of this post that appears in Dominion’s motion at page 11 was captured

on March 14, 2024, and accordingly has a slightly lower view count.

        3.        Attached hereto as Exhibit 2 is a true and correct copy of an email sent from

Stefanie Lambert to Elizabeth Hadaway on March 12, 2024, with the subject line “RE:

Byrne/Dominion – Substitution of Counsel.”
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       4.      Attached hereto as Exhibit 3 is a true and correct copy of a post by Stefanie

Lambert (“@AttyStefLambert”) on the social media website “X” dated March 15, 2024, accessed

and saved on March 15, 2024.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 9, 2024, accessed and saved on

March 15, 2024.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 14, 2024, accessed and saved on

March 15, 2024.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of the Amended Protective

Order Governing the Production and Exchange of Confidential Information entered in this case,

filed June 16, 2023.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of an email from Robert

Driscoll to Counsel for Dominion dated March 11, 2024, with the subject line “Notice of Public

Disclosure of Dominion’s Confidential Discovery Material.”

       9.      Attached hereto as Exhibit 8 is a true and correct copy of Exhibit A to Protective

Order, dated December 2023, signed by Stefanie Lambert.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of a post from the social

media website “X” dated March 12, 2024, accessed and saved on March 14, 2024, with the poster’s

name redacted. The copy of this post that appears in Dominion’s motion at page 10 was captured

on March 14, 2024, and accordingly has a slightly lower view count.
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       11.    Attached hereto as Exhibit 10 is a true and correct copy of an email from Davida

Brook to Robert Driscoll and others dated March 11, 2024, with the subject line “Re: Notice of

Public Disclosure of Dominion’s Confidential Discovery Material.”

       12.    Attached hereto as Exhibit 11 is a true and correct copy of an email from Elizabeth

Hadaway to Robert Driscoll and others, dated March 12, 2024, with the subject line “RE:

Byrne/Dominion – Substitution of Counsel.”

       13.    Attached hereto as Exhibit 12 is a true and correct copy of a letter from Jonathan

Ross to Julian Ackert dated March 14, 2024.

       14.    Attached hereto as Exhibit 13 is a true and correct copy of a letter from Jonathan

Ross to Eric Parish dated March 14, 2024.

       15.    Attached hereto as Exhibit 14 is a true and correct copy of a letter from Stefanie

Lambert to Julian Ackert dated March 15, 2024.

       16.    Attached hereto as Exhibit 15 is a true and correct copy of a letter from Stefanie

Lambert to Eric Parish dated March 15, 2024.

       17.    Attached hereto as Exhibit 16 is a true and correct copy of Petition for Appointment

of Special Prosecutor In the Matters of: IN THE MATTERS OF: Matthew DePerno, Stefanie

Lambert Juntilla, Daire Rendon, Ann Howard, Ben Cotton, Jeff Lenberg, Douglas Logan, James

Penrose, Dar Leaf, dated August 5, 2022.

       18.    Attached hereto as Exhibit 17 is a true and correct copy of a Press Release from

the Office of the Muskegon County Prosecutor regarding Lambert-Juntilla Charged in Election

Tabulator Investigation, dated August 3, 2023.

       19.    Attached hereto as Exhibit 18 is a true and correct copy of minutes from the

meeting of the Fulton County Commissioners, dated December 27, 2023.
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        20.    Attached hereto as Exhibit 19 is a true and correct copy of an order entered in

County of Fulton v. Secretary of the Commonwealth, Case No. 277 M.D. 2021, dated January 10,

2024.

        21.    Attached hereto as Exhibit 20 is a true and correct copy of a post on the social

media website “X” embedding a letter dated February 14, 2024, from Stefanie Lambert to

Congressman Jim Jordan. The social media poster’s name has been redacted.

        22.    Attached hereto as Exhibit 21 is a true and correct copy of a post by Stefanie

Lambert (“@AttyStefLambert”) on the social media website “X,” dated February 14, 2024,

accessed and captured March 15, 2024.

        23.    Attached hereto as Exhibit 22 is a true and correct copy of a Mesa County Grand

Jury Indictment in the matter of People of the State of Colorado v. Tina Peters and Belinda Knisley,

dated March 8, 2022

        I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

        Signed this 15th day of March, 2024, at Los Angeles, California.

                                                                 /s/Davida Brook
                                                                 Davida Brook
